4:05-cr-03060-RGK-DLP    Doc # 93   Filed: 11/20/06   Page 1 of 1 - Page ID # 180




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )            4:05CR3060-2
                                          )
                Plaintiff,                )
    vs.                                   )            ORDER
                                          )
FERNANDO NUNEZ,                           )
                                          )
                Defendant.                )


    IT IS ORDERED that:

    1.    Filing 92, the amended motion to withdraw filed by defense counsel,
          Jeremy Murphy, is granted.

    2.    The Federal Public Defender is requested to make nominations to the
          undersigned district judge within ten (10) days for appointment of
          substitute counsel.

    3.    The clerk of the court shall send a copy of this order to (a) Fernando
          Nunez, c/o Saline County Jail, Box 911, Wilber, NE 68465, and (b)
          David Stickman, Federal Public Defender, 222 S. 15th St., Suite 300N,
          Omaha, NE 68102.

    November 20, 2006.                    BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
